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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Jesse Mitchell, et al.
                              Plaintiff,
v.                                                Case No.: 1:14−cv−09178
                                                  Honorable Matthew F. Kennelly
AbbVie, Inc., et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 26, 2018:


         MINUTE entry before the Honorable Matthew F. Kennelly: Jury deliberations
continue. Defendants' motion for mistrial is denied. Jury deliberations completed on
3/26/2018. Jury returns verdict in favor of defendants AbbVie and Abbott Laboratories on
the first claim, strict liability; in favor of plaintiff Jesse Mitchell on the second claim,
negligence; and in favor of defendants AbbVie and Abbott Laboratories on the third
claim, fraudulent misrepresentation. Plaintiff Jesse Mitchell is awarded compensatory
damages as follows: Non−economic damages in the amount of $50,000.00; economic
damages in the amount of $150,000.00; and punitive damages in the amount of
$3,000,000.(pjg, )




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